                      Case 1:20-cr-01532-MV Document 9 Filed 08/07/20 Page 1 of 1

                                             CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                             Before the Honorable Laura Fashing
                                                      Initial Appearance
Case Number:                CR 20-1532 MV                         UNITED STATES vs. CHACON
Hearing Date:               8/7/2020                              Time In and Out:          10:19-10:24
Courtroom Deputy:           N. Maestas                            Courtroom:                ABQ Zoom
                                                                                            Margaret Katze (for purposes of
Defendant:                  Phillip Chacon                        Defendant’s Counsel:
                                                                                            the Initial Appearance only)
AUSA:                       Brandon Fyffe                         Pretrial/Probation:       Sandra Day
Interpreter:                N/A                                   Witness:
Initial Appearance
☒     Defendant received a copy of charging document
☒     Court advises defendant(s) of possible penalties and all constitutional rights
☒     Defendant wants Court appointed counsel
☒     Government moves to detain                                  ☐ Government does not recommend detention
☒     Set for Arraignment/Detention Hearing                       on Tuesday, August 11, 2020      @ 9:30
Preliminary/Show Cause/Identity
☐     Defendant
☐     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☐     Defendant waives Detention Hearing
☐
Custody Status
☒     Defendant detained pending hearing
☐     Conditions
Other
☒     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
☐     Matter referred to    for Final Revocation Hearing
☐
